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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND

  IN RE:                                *
                                        *         Case No.: 17-10243-RAG
       ARCHIE VERNON VEALE              *
       SIERRA LEONNE VEALE              *         Chapter 13
              Debtor(s)                 *
                                        *
  ******************************************************************************


                            THE CHAPTER 13 TRUSTEE’S
                         REQUESTS FOR ADMISSION OF FACT
                         TO CLAIMANT, U.S. BANK TRUST, NA

       Nancy Spencer Grigsby, Chapter 13 Trustee, requests U.S. Bank Trust, NA, not later than

thirty (30) days after service of this request, admit for the purpose of this action, the truth of the

facts stated in section II below, pursuant to Rule 36 of the Federal Rules of Civil Procedure and

Rule 7036 of the Federal Rules of Bankruptcy Procedure.



                                 I. Instructions and Definitions

       A.      If, within thirty (30) days after service upon you, you do not answer or object to the

specific facts stated in section II below, the matter is admitted as true for the purposes of this

action. Fed. R. Civ. P. 36(a)(3); Fed. R. Bankr. P. 7036.

       B.      If you object to any request, the reason therefore shall be stated. You may not

object solely on the ground that the request presents a genuine issue for trial. Fed. R. Civ. P.

36(a)(5); Fed. R. Bankr. P. 7036.

       C.      If the requested fact is not admitted, the answer shall specifically deny the matter

or set forth in detail the reasons why the answering party cannot truthfully admit or deny the matter.

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Fed. R. Civ. P. 36(a)(4); Fed. R. Bankr. P. 7036.

       D.      You may not give lack of information or knowledge as a reason for failure to admit

or deny unless you state that you made reasonable inquiry and that the information known or easily

obtainable by you is insufficient to admit or deny the requested fact. Fed. R. Civ. P. 36(a)(4); Fed.

R. Bankr. P. 7036.

       E.      The terms “person” or “persons” includes natural persons, partnerships,

corporations and other legal entities.

       F.      The terms “you” or “your” shall refer to Claimant, U.S. Bank Trust, NA c/o SN

Servicing Corporation, as well as any of its officers, directors, agents, employees, representatives

and/or attorneys.

       G.      The term “U.S. Bank Trust, NA c/o SN Servicing Corporation” shall refer to

Claimant, U.S. Bank Trust, NA c/o SN Servicing Corporation, as well as any of its officers,

directors, agents, employees, representatives and/or attorneys.

       I.      The term “Debtors” means Archie Vernon Veale and Sierra Leonne Veale, the

debtors in this bankruptcy case.



                                     II. Facts to be Admitted

       1.      The address where notices to U.S. Bank Trust, NA c/o SN Servicing Corporation

concerning this bankruptcy case should be sent is, 323 Fifth Street, Eureka, CA 95501.

       2.      D. Anthony Sottile signed the Transfer of claim filed by U.S. Bank Trust, NA c/o

SN Servicing Corporation, which was filed on February 6, 2019.

       3.      The Corporation Trust, Incorporated is the Maryland Resident Agent for U.S. Bank


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Trust, NA.

        4.      The Corporation Trust, Incorporated is located at 2405 York Rd, Suite 201,

Lutherville Timonium, MD 21093.

        5.     Your proof of claim asserts that you had a secured claim for $112,484.53. You

assert that the amount necessary to cure any default as of the date of the petition was $21,290.46.

        6.     The Debtor’s Confirmed Plan proposes to pay the entire arrears claim through

Trustee distributions.

        7.     1509 Kennewick Road, Baltimore, MD 21218 (the “Collateral”) was the collateral

for your secured claim.

        8.     On January 3, 2018, you filed a Motion for Relief from Stay, alleging that the

Debtor failed to make regular contractual post-petition payments.

        9.     On February 28, 2019 the Bankruptcy Court entered a Notice of Default and Notice

of Termination of Automatic Stay, allowing you to exercise and enforce your state law and

contractual rights.

        10.    You admit that you no longer seek payment through the Chapter 13 Bankruptcy

Case.

        11.    You have not amended your Proof of Claim.

        12.    You admit that your claim should no longer be allowed as a secured claim.



Date: May 2, 2019                            Respectfully submitted,

                                             /s/ Nancy Spencer Grigsby
                                             Nancy Spencer Grigsby
                                             Chapter 13 Trustee


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                                             185 Admiral Cochrane Drive, Suite 240
                                             Annapolis, MD 21401
                                             Tel. 301-805-4700
                                             ngrigsby@ch13md.com


                                CERTIFICATE OF SERVICE

        I hereby certify that on the 2nd day of May, 2019, I reviewed the Court’s CM/ECF system
and it reports that an electronic copy of the Request for Admissions will be served electronically
by the Court’s CM/ECF system on the following:


David L. Ruben sue@mdbankruptcycenter.com, lindsay@rubenlaw.com
Counsel for Debtor(s)

Gene Jung gene.jung@brockandscott.com, mdecf@brockandscott.com,
wbecf@brockandscott.com, cecily.perry@brockandscott.com
Counsel for New Penn Financial, LLC d/b/a Shellpoint Mortgage Servicing

Mark David Meyer bankruptcy@rosenberg-assoc.com
Counsel for Ditech Financial LLC

Joshua Welborn bankruptcymd@mwc-law.com, bankruptcymd@ecf.inforuptcy.com
Counsel for U.S. Bank Trust, NA


      I hereby further certify that on the 2nd day of May, 2019, a copy of the Request for
Admissions was also mailed first class mail, postage prepaid to:

Archie Vernon Veale
Sierra Leonne Veale
1509 Kennewick Road
Baltimore, MD 21218
Debtor(s)

Ditech Financial, LLC fka Green Tree Servicing LLC
Attn: Andrew Kussmaul
PO Box 6154
Rapid City, SD 57709
Creditor’s Address on Claim




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Ditech Financial, LLC fka Green Tree Servicing LLC
Attn: Andrew Kussmaul
PO Box 0049
Palatine, IL 60055
Creditor’s Address on Claim

Shellpoint Mortgage Servicing
Attn: Padma Vaghela
PO Box 10675
Greenville, SC 29603
Creditor’s Address on Transfer of Claim

New Penn Financial, LLC d/b/a Shellpoint Mortgage Servicing
Attn: Padma Vaghela
PO Box 10675
Greenville, SC 29603
Creditor’s Address on Transfer of Claim

SN Servicing Corp.
Attn: Donna Davis
323 5th Street
Eureka, CA 95501
Creditor’s Address on Transfer of Claim

U.S. Bank Trust, NA
c/o SN Servicing Corporation
Attn: D. Anthony Sottile
323 Fifth Street
Eureka, CA 95501
Creditor’s Address on Transfer of Claim

SN Servicing Corp.
323 Fifth Street
PO Box 35
Eureka, CA 95502
Creditor’s Correspondence Address

The Prentice-Hall Corporation System
7 St Paul Street, Suite 820
Baltimore, MD 21202
Resident Agent for SN Servicing Corporation

No Resident Agent Found for Shellpoint Mortgage Servicing


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CSC-Lawyers Incorporating Service Company
7 St Paul Street, Suite 820
Baltimore, MD 21202
Resident Agent for New Penn Financial, LLC

The Corporation Trust, Incorporated
2405 York Road, Suite 201
Lutherville Timonium, MD 21093
Resident Agent for Ditech Financial LLC

The Corporation Trust, Incorporated
2405 York Road, Suite 201
Lutherville Timonium, MD 21093
Resident Agent for U.S. Bank, NA

Via certified mail
Mr. Richard K. Davis, CEO
U.S. Bank, N.A.
800 Nicollet Mall
BC-MN-H210
Minneapolis, MN 55402
Officer of U.S. Bank, N.A.


                                                     /s/ Nancy Spencer Grigsby
                                                     Chapter 13 Trustee




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